54 F.3d 772NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    James A. BUTLER, Plaintiff-Appellant,v.Roland T. BAEHR, Chief Deputy;  Henrico County;  DuaneCarter, Deputy;  Karen Bohannon, Nurse;  Arthur S.Harrow, M.D., Defendants-Appellees.
    No. 94-6963.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 28, 1995.Decided May 16, 1995.
    
      James A. Butler, Appellant Pro Se.  John Adrian Gibney, Jr., Sarah Jane Chittom, SHUFORD, RUBIN &amp; GIBNEY, Richmond, VA;  Mark Sheridan Brennan, Michael Paul Curreri, WRIGHT, ROBINSON, MCCAMMON, OSTHIMER &amp; TATUM, Richmond, VA, for Appellees.
      Before MURNAGHAN and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Butler v. Baehr, No. CA-93-643-2 (E.D.Va. Aug. 2, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    